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The following constitutes the ruling of the court and has the force and effect therein described.



Signed October 20, 2023
                                           United States Bankruptcy Judge
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

                                                                         )
          In re:                                                         )   Chapter 7
                                                                         )
          HIGHLAND SELECT EQUITY MASTER FUND,                            )   Case No. 23-31037-swe7
          L.P., 1                                                        )
                                                                         )
                                           Debtor.                       )

                              ORDER GRANTING
      EMERGENCY MOTION IN LIMINE OF HIGHLAND CAPITAL MANAGEMENT, L.P.
       TO EXCLUDE RECUSAL EVIDENCE AND ARGUMENT IN CONNECTION WITH
        DEBTORS’ MOTION TO TRANSFER CASE TO DALLAS DIVISIONAL OFFICE

                   Having considered (a) the Emergency Motion in Limine of Highland Capital Management,

      L.P. to (i) Exclude Recusal Evidence and Argument in Connection with Debtor’s Motion to

      Transfer Case to Dallas Divisional Office, or, (ii) in the Alternative, Adjourn Hearing [Docket

      No. 51] (the “Motion in Limine”) 2 filed by Highland Capital Management, L.P. (“Highland”), (b)


      1
        The Debtor’s last four digits of its taxpayer identification number are (0466). The headquarters and service address
      for the Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
      2
        Capitalized terms not otherwise defined in this Order shall have the meaning ascribed to them in the Motion in
      Limine.



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the response [Docket No. 53] (the “Response”) of The Dugaboy Investment Trust (“Dugaboy”) in

opposition to the Motion in Limine, and (c) the respective arguments of counsel in support of the

Motion in Limine and the Response made at the hearing (the “Hearing”) on the Motion in Limine

before the Court on October 18, 2023, the Court finds and concludes that: (i) the Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; (ii) venue of this proceeding

in this District is proper; (iii) notice of the Motion in Limine was appropriate under the

circumstances and no other notice need be provided; and (iv) the legal and factual bases set forth

in the Motion in Limine and the argument of counsel at the Hearing establish good cause for the

relief granted herein. Accordingly, based upon all of the proceedings had before this Court, after

due deliberation and sufficient cause appearing therefor, and for the reasons stated by the Court on

the record at the Hearing, it is HEREBY ORDERED THAT:

        1.       The Motion in Limine is GRANTED.

        2.       The Court shall retain exclusive jurisdiction with respect to all matters arising from
                 or relating to the implementation, interpretation, and enforcement of this Order.


                                         ###End or Order###




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APPROVED AS TO FORM ONLY:



 Dated: October 18, 2023                   PACHULSKI STANG ZIEHL & JONES LLP

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